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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

IN RE: ) Case No. 19-10562
BCause Mining, LLC, Judge Janet S. Baer
debtor/debtor-in-possession. Chapter 11
NOTICE OF MOTION

TO: ATTACHED SERVICE LIST

PLEASE TAKE NOTICE that on the 24" day of April, 2019, at 10:00 a.m., or soon
thereafter as counsel can be heard, | shall appear before the Honorable Janet S. Baer,
Bankruptcy Judge, in the room usually occupied by her as Courtroom 615 in the United
States Bankruptcy Court in the Everett McKinley Dirksen Federal Building, 219
Dearborn Street, Chicago, Illinois, or before any other Judge who may be sitting in her
place and stead and shall present the Motion for Extension of Time to File Schedules
and Statement of Financial Affairs, a copy of which is attached hereto and herewith
served upon you, and shall pray for the entry of an Order in compliance therewith.

AT WHICH TIME and place you may appear if you so see fit.

/s/Scott R. Clar

Crane, Simon, Clar & Dan
135 S. LaSalle St., Ste. 3705
Chicago, Illinois 60603

(312) 641-6777

CERTIFICATE OF SERVICE

The undersigned, being first duly sworn on oath deposes and states that he caused
a copy of the foregoing Notice and attached Motion to be served on all parties listed on
the attached Service List via the Court’s Electronic Registration on the 18" day of April,
2019 before the hour of 5:00 p.m.

/s/Scott R. Clar

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SERVICE LIST

Court’s Electronic Registration:

Patrick S. Layng

Office of the United States Trustee
219 S. Dearborn St., Rm. 873
Chicago, IL 60604
USTPRegion11.ES.ECF@usdoij.gov

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Shara C. Cornell

MCDONALD HOPKINS LLC
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George Sladoje

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FOR THE NORTHERN DISTRICT OF ILLINOIS
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IN RE: ) Case No. 19-10562
)
BCause Mining, LLC, ) Judge Janet S. Baer
)
debtor/debtor-in-possession. ) Chapter 11

MOTION FOR EXTENSION OF TIME TO FILE
SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS

BCAUSE MINING, LLC, debtor/debtor-in-possession (“Debtor”), by and through its
attorneys, files its Motion for Extension of Time to File Schedules and Statement of
Financial Affairs; and in support thereof, state as follows:

1. On April 11, 2019, the Debtor filed its voluntary petition for relief under
Chapter 11 of the Bankruptcy Code (“Petition Date”).

2. The Debtor has been managing its financial affairs as debtor-in-possession
since the Petition Date.

3. No trustee, examiner or committee of unsecured creditors has been
appointed to serve in this reorganization case.

4. Pursuant to Rule 1007 of the Federal Rules of Bankruptcy Procedure, the
Debtor has until April 25, 2019, to file its Bankruptcy Schedules and Statement of
Financial Affairs.

5. The Debtor is in the process of gathering all of the information necessary to
complete its Schedules and Statement of Financial Affairs.

6. The Debtor requests that this Court enter an Order granting an extension of
time for the Debtor to file its Schedules and Statement of Financial Affairs from April 25,

2019 through and including May 8, 2019.
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7. The general meeting of creditors pursuant to Section 341 of the Bankruptcy
Code is scheduled for May 15, 2019.

8. This Motion is not being brought to cause undue delay and no party will be
prejudiced by granting of the requested extension.

9. No prior extensions have been requested by the Debtors.

WHEREFORE, BCAUSE MINING, LLC, debtor/debtor-in-possession, prays for
the entry of an Order as follows:

A. Extending the time by which the Debtor must file its Schedules and
Statement of Financial Affairs from April 25, 2019 through and including May 8, 2019; and

B. Granting such other relief as may be just and appropriate.

BCAUSE MINING, LLC

By: \s\ Scott R. Clar
One of its attorneys

DEBTOR’S COUNSEL:

Scott R. Clar (Atty. No. 06183741)
Crane, Simon, Clar & Dan

135 S. LaSalle Street, Suite 3705
Chicago, Illinois 60603

312-641-6777
W:\MJO2\BCause Mining LLC\Ext Time File Sched.mot and NOM

